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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________

NATIONAL GENERAL INSURANCE COMPANY,

                                 Plaintiff,                     STIPULATION AND ORDER
                                                                FOR THE PRODUCTION AND
          v.                                                    EXCHANGE OF
                                                                CONFIDENTIAL
TEUFIK RADONCIC, ADELA RADONCIC, RAVI                           INFORMATION
SUNIL WOLI MOHAMED, and NENDIN
MOHAMED,                                                        Case No.: 20-cv-03876-JGK

                        Defendants.
___________________________________________

                   The Court enters this Confidentiality Stipulation and Order upon the request and

stipulation of all of the parties appearing heretofore in this litigation for the purpose of assuring the

confidentiality and protection of certain confidential and/or proprietary information that may be

disclosed by any party, their respective counsel, or a third party in the course of discovery in this

action.

                   It is hereby ORDERED:

                   1.     As used in this Confidentiality Stipulation and Order, the term

“Confidential Information” includes any material or information that is disclosed by National

General Insurance Company in response to Document Request Nos. 1 and 4 of the Radoncic

Defendants’ First Request for Production in this litigation, which provide as follows:

                         DOCUMENT REQUEST NO. 1: All Documents relating
                         to NG’s underwriting guidelines, from 2017 to the
                         present, for issuing homeowners policies that relate to
                         the Policy issued to the Radoncics.

                                                       ***

                         DOCUMENT REQUEST NO. 4: All Documents relating
                         to the underwriting file kept in reference to the issuance

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                     of the Policy referenced in the Complaint.

Those materials responsive to the above requests include confidential and/or proprietary

information and are designated as “Confidential”.

              2.      In addition to the materials or information disclosed in response to the

above requests, related materials or information pertaining to the same subject matter (i.e.,

insurance policy underwriting) may be designated as “Confidential” in one or more of the

following ways:

                      (a)    information set forth in an answer to a request for documents, a

                      subpoena, an interrogatory or request for admission may be so designated

                      by including a clear statement in the answer that the answer is

                      “Confidential”;

                      (b)     information contained in any document, summary or part thereof

                      may be so designated by making the word “Confidential” on the document

                      and all copies of it delivered to counsel for the receiving party, or by giving

                      written notice to counsel for the receiving party, describing the document or

                      part thereof either specifically or by category; and

                      (c)    information contained in an answer to any question asked during an

                      oral deposition may be designated “Confidential” by a statement made on

                      the record during the course of the deposition on the same day that the

                      answer is given or by a writing served by first class mail or overnight

                      delivery within ten (10) business days after the designating party receives

                      the deposition transcript.

              3.      Confidential Information designated as “Confidential” that is disclosed



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during the course of discovery in this action:

                       (a)    shall only be used by the parties to this action, their counsel, any

                       independent expert witnesses and advisors and consulting firms retained by

                       a party to this action in connection with the prosecution and defense of this

                       action and for no other purpose;

                       (b)    shall not be published to the general public in any form by any party

                       to this action, their counsel, or any independent expert witnesses, advisors

                       and consulting firms retained a party to this action, nor used by any party

                       to this action, their counsel, or any independent expert witnesses, advisors

                       and consulting firms retained by the receiving party for any business or

                       commercial purpose; and

                       (c)    may be disclosed by counsel to the parties to this action only to the

                       following persons insofar as it is reasonably necessary to the prosecution or

                       defense of this action:

                              (i)      attorneys of record for the parties to this action, including

                              any attorneys employed by a law firm of record that represents a

                              party;

                              (ii)     secretarial, clerical and paralegal or student personnel

                              employed full-time or part-time by attorneys or a law firm that

                              represents a party;

                              (iii)    the receiving party or independent expert witnesses,

                              advisors and consulting firms retained by a party in connection

                              with this action;



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                              (iv)       technical, secretarial, clerical or other personnel employed

                              full-time or part-time by independent expert witnesses, advisors and

                              consulting firms of a party;

                              (v)        court reporters or stenographers engaged to record deposition

                              testimony, and their employees;

                              (vi)       such other persons as may be authorized by agreement of the

                              parties.

                              (vii)      Employees or agent of insurance companies that provide

                              coverage for one or more parties to this litigation.

               4.     Secondary documents, including but not limited to, notes, memoranda,

analyses and briefs that are prepared from any materials described herein that contain Confidential

Information shall be treated in the same fashion as the underlying materials.

               5.     The party receiving the disclosure (the “Receiving party”) may, at any

time, notify the party producing the disclosure (the “Producing party”) that the Receiving party

does not concur in the designation of a document or other material as Confidential Information.

If the Producing party does not agree to declassify such document or material, the Receiving

party may move before the Court for an order declassifying those documents or materials. If no

such motion is filed, such documents or materials shall continue to be treated as Confidential

Information. If such motion is filed, the documents or other materials shall be deemed

Confidential Information unless and until the Court rules otherwise.

               6.     The provisions of this Confidentiality Stipulation and Order shall not be

construed as preventing:

                      (a)     any disclosure of Confidential Information by the parties



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                      designating the information as such in any such other action; or

                      (b)     any disclosure of Confidential Information to any judge, law clerk

                      or employee of this Court for purposes of this action.

               7.     Before filing with the Court any pleading, motion, application,

memorandum of law, or other paper that in any manner quotes, paraphrases, attaches as an exhibit

or otherwise discloses information that has been designated to be Confidential Information, the

party that intends to file such pleading, motion, application, memorandum of law or other paper,

shall do so under seal or provide counsel for the designating party fifteen (15) days prior written

notice specifically identifying the Confidential Information intended to be disclosed so that the

designating party may make a sealing application to the Court if the designating party deems one




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necessary. By way of this Order, the Court authorizes all parties to file documents and other

information designated as confidential pursuant hereto under seal.

               8.      Nothing in this Confidentiality Stipulation and Order shall preclude a party

from offering “Confidential” information into evidence at the trial of this action.

               9.      Inadvertent disclosure of any document or information shall not operate as a

waiver of confidentiality, and any party inadvertently disclosing such information without first

designating the information as “Confidential” may do so upon learning of the disclosure.

However, any dissemination or disclosure of such later-designated information shall not be

deemed a violation of this Confidentiality Stipulation and Order until the information is

designated as “Confidential”.

               10.     Nothing in this Confidentiality Stipulation and Order shall be deemed to

limit or constitute a waiver of any Party's right to object to the production of any information on

the basis of privilege or for any other reason provided under applicable federal or state law.

               11.     All discovery materials, including, but not limited to, discovery material

designated as “Confidential” and all copies thereof shall be either destroyed or returned to the

disclosing party or its counsel, per the disclosing party's instructions, within thirty (30) days of the

conclusion of this litigation including any appeals. Counsel for the receiving party’s discovery

materials shall certify in writing to counsel for the disclosing party that said discovery materials

have been destroyed or returned per the disclosing party's instructions, or otherwise disposed of




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as ordered by the Court, within thirty (30) days of the conclusion of this litigation including any

appeals.


GOLDBERG, MILLER & RUBIN, P.C.



__________________________________________                          December 18, 2020
                                                            DATE: ____________________
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HURWITZ & FINE, P.C.



                                                                        January 11, 2021
__________________________________________           DATE: ____________________
Dan D. Kohane, Esq.
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 COMPANY
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Buffalo, New York 14202
(716) 840-8900
ddk@hurwitzfine.com           This Order is not binding on the Court or
                              Court personnel. The Court may amend the
                              Order at any time.
SO ORDERED:                   SO ORDERED
                                                     /s/ John G. Koeltl
                              January 12, 2021           John G. Koeltl
                              New York, NY                  U.S.D.J.
Hon. John G. Koeltl, U.S.D.J.


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